      Case 2:13-cv-05464-SSV-DEK Document 18 Filed 02/21/17 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


CATHERINE P. ALFORD, ET AL.                                          CIVIL ACTION

VERSUS                                                               NO. 13-5457
                                                                     C/W 13-5703
CHEVRON U.S.A., INC., ET AL.                                         and 13-5464

                                                                     SECTION “R"

                                                                     APPLIES TO
                                                                     CIVIL ACTION
                                                                     13-5464

                               ORDER OF DISMISSAL

      The Court having been advised by counsel for all parties that they have firmly

agreed upon a compromise in this matter;

      IT IS ORDERED that this action be and it is hereby dismissed as to all parties,

without costs and without prejudice to the right, upon good cause shown, within sixty

days, to reopen the action if settlement is not consummated. In addition, the Court

specifically retains jurisdiction to enforce the settlement agreement if settlement is not

consummated in sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins.

Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424,

430 (5th Cir. 2002).

      COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT

TO APPEAR.

            New Orleans, Louisiana, this 21st day of February, 2017.



                   ________________________________
                             SARAH S. VANCE
                      UNITED STATES DISTRICT JUDGE
